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UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE

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WESTERNDIVISION Uslii.-ii ig Piii,.. ..)2

 

 

UNITED STATES OF AMERICA,

Plaintiff,
vs. Cr. NO. 04-20476-D
JOHN D. VAUGHN,

Defendant.

 

ORDER GRANTING MOTION TO
MODIFY CONDITIONS OF RELEASE

 

Upon motion of the defendant, and without objection by the government and pre-trial
services, and it appearing that said motion is based on a good cause and should be granted, this Court
hereby GRANTS the defendant’s motion and modifies the conditions of his pretrial release by
allowing him to travel to East Tennessee and North Ca;rolina for his honeymoon from June 4-10,
2005.

It is so ORDERED, this the /B`H`day ofMay, 2005.

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HgNoRABLE/§ERNICE BOUIE DONALD
U rrEi) sTATEs DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 99 in
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Honorable Bernice Donald
US DISTRICT COURT

